
ANGELLOTTI, J.
This is an appeal from a judgment of the superior court of Imperial County, denying an application for a writ of mandate. The judgment was entered after an order sustaining a general demurrer to the petition and the refusal of plaintiff to amend.
The facts alleged in the petition show, in effect, the same grounds for relief, and in substantially the same form, as those considered in an opinion this day filed by this court in a proceeding entitled Miller v. Imperial Water Company No. 8, ante, p. 27 [103 Pac. 227].
For the reasons therein stated, we are of the opinion that the demurrer to the petition in this case was improperly sustained by the trial court.
The judgment of the superior court is reversed and the cause remanded, with directions to the lower court to overrule the demurrer of defendant, with leave to answer if it be so advised.
Sloss, J., Shaw, J., Lorigan, J., Melvin, J., and Henshaw,. J., concurred.
